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                                                                     #548
B A O 2458      (Rev. 12/03) Judgment in a Criminal Case
                Sheet 1




                                                SOUTHERN          District of     ILLINOIS
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL. CASE
v.
JOHN H. JONES
                                                                         Case Number:                       4:04CR40039-005-JF'G

                                                                         USM Number:                        06304-025

                                                                         Susan Gentle
                                                                         Defendant's Anomev
THE DEFENDANT:
- pleaded guilty to count(s)          1 of the Second Superseding Indictment.
                                                                                                                            T

- pleaded nolo contendere to count(s)
     which was accepted by the court.
- was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended           Count
21 U.S.C. 846                      Conspiracy to Manufacture, Possess with intent to Distribute             0913012003       1ss




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                            b          of this judgment. The sentence is imposed pursuant to

0 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                          - is       are dismissed on the motion of the United States.
         It is ordered that the defmadnt must notlw the i.'n~tedStates attorney for thls dlstrict w~thin30 dil s of any change of name, res~den
or mallin address until all fines, restltutwn, costs, andspeclal assessments imposed by th~sjudgn~ent   are fuiypald. ifordered to pay restltutlo
the defcnl$ant must notify the court and L'ruted States anorncy of material changes in economlc circumstances.




                                                                         J. Plnl Gilbert, District Judge
                                                                         Name a n p e of Judge
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                                                                  #549
A 0 2458       (Rev. 12103) Jud-t  in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                     Judgment - Page 2
DEFENDANT:                       JOHN H. JONES
CASE NUMBER:                     4:04CR40039-005-JPG


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:     57 months on Count 1 of the Second Superseding Indictment.




    F4 The court makes the following recommendations to the Bureau of Prisons:
    -
           Intensive Drug Treatment Program.




    - The defendant is remanded to the custody of the United States Marshal.

    0 The defendant shall surrender to the United States Marshal for this district:
    -
           0
           -     at                                   -
                                                      0 a.m     g p.m.        on
           -
           0     as notified by the United States Marshal.

    - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           -
           0     before 2 p.m. on

           -
           0     as notified by the United States Marshal.
           0
           -     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                         to

a                                                      , with a certif~edcopy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                             BY
                                                                                   DEPUTY UNITED STATES MARSHAL
                  Case 4:04-cr-40039-JPG                 Document 302 Filed 09/27/05                      Page 3 of 6         Page ID
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A 0 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet 3 - supervised Release
                                                                                                           Judgment-Page   3
DEFENDANT:                     JOHN H. JONES
CASE NUMBER:                   4:04CR40039-005-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:             3 years


3 years on Count 1 of the Second Superseding Indictment


      The defendant must report to the probation office in the dishct to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a f ~ ore restitutio~it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a p e n t sheet
                            s     of t h ~judgment.
                                           s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refram from exccsslvc use of alcohol and hall not purchase, possess, use, dismbute, or administrr any
      controllcd substansc or any paraphemaha related to any controlled substances, except as prcscr~bedby a phys~cian;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
      felony, unless granted permission to do so%y the profation officer;
  10)      the dcfcndant shall pernut a probatm ofker to v ~ s hun
                                                               ~ t or her at any tlme at home or elsewhere and shall perm~tconfiscation of an
           contraband observed in pla~nwew of the prohat~onofficer,
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13) as directed by the robation officer, the defendant shall notify third parties of risks that may be occasionedby the defendant's crimin
           record or         history or characteristip and shall permit the probation officer to make such notifications and to c o n f i i th
           defendant s compl~ancewlth such notiticatmn requuement.
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A 0 2458   (Rev. 12103) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                           Judgment-Page   4
DEFENDANT:                 JOHN H. JONES
CASE NUMBER:               4:04CR40039-005-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall pay any financial penalty that is imposed by this judgment and that remains un aid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments o?$l0.00 or ten percent o
his net monthly income, whichever is greater.
  The defendant shall provide the probation and the Financial Liti ation Unit of the United States Attorney's Office with
                                                                   f.
access to any requested financial information. The defendant is a vlsed that the probation office may share financial
information with the Financial Litigation Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings,,judgments, andor any other
anticipated or unexpected %nancialfains to the outstanding court-ordered financial obhgation. The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                          f
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counselmg andor testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counsel.
  The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted b the United States Probation Officers at a reasonable time and in reasonable manner, based upon reasonable
           ?
suspicion o conb.aband or evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a search pursuan
to this condition.
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A 0 2458   (Rw. 12/03) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                    Judgment - Page 5
 DEFENDANT:                       JOHN H. JONES
 CASE NUMBER:                     4:04CR40039-005-JF'G
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

                       Assessment                                                                         Restitution
 TOTALS            $   100.00                                                                           $ 0


 0 The determinationof restitution is deferred until -
 -                                                    . An Amended Judgment in a Criminal Case (A0 245C) will be enter
      after such determination.

 - The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment column%elow. However, pursuant to 18
     before the United States 1s pald.
                                                                                            8S.E.
                                                                                             5 3664&, all nonfederal victims must be p

 Name of Pavee                               Total Loss*                     Restitution Ordered                   Prioritv or Percentage




 TOTALS                             $                                      $


 -     Restitution amount ordered pursuant to plea agreement $

 -     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $? 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 -     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      - the interest requirement is waived for the               fme    g restitution
       - the interest requirement for the            -   fvle   - restitution is modified as follows:
 Findings for the total amountoflosses are requiredunder Chapters 109A, 110,110.4, and 113Aof Title 18 for offenses committedonor aft
 September 13, 1994, but before April 23, 1996.
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                                                                 #553
A 0 2458   (Rev. 12/03) Judmnent in a Cerninal Case
           sheet 6 - ~ehe&leof Paymene
                                                                                                         Judgment - Page 6
 DEFENDANT:                 JOHN H. JONES
 CASE NUMBER:               4:04CR40039-005-JPG

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetiuy penalties are due as follows:

 A    I Lump sumpayment of $                                 due immediately, balance due

           -
           o     not later than                                   > 01

           -     in accordance           -    C,       D,          E, or     1F below; or
 B         Payment to begin immediately (may be combined with              E C,      - D, or      E F below); or
 C    E Payment inequal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o Payment in equal                       (e.g., weekly, monthly, quaaerly) installments of $                     over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    g    Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $             per month,       % of defendants monthly gross earnings,
           whichever is greater.

 F    I Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net
           monthly income, whichever is greater.




 Unless the court has exprfssl ordered othctw~se,ifthis jud ,men1 ~mposcsrmpnsonment, p a y t ofcrimmal monetary penalties is due d u ~
 imprisonment. All sr~minarmoneta penalt~es,eicept tho,c payments made through 1 e Federal Bureau of Prisons' Inmatc Flnanc~
 Responsihiliry Program, arc made to% clerk of the sou".

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed




 -
 0    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 -
 0    The defendant shall pay the cost of prosecution.
 -
 0    The defendant shall pay the following court cost(s):
 -
 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7)penalties, and (8) costs, including cost of prosecution and court costs.
